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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS
________________________________________________
MICHAEL BUSH,                                        )
      Plaintiff,                                     )
                                                     )
VS.                                                  ) C.A. NO. 1:21-cv-12039-IT
                                                     )
ACTON BOXBORO REGIONAL SCHOOL DISTRICT, )
and PETER LIGHT, Superintendent of the Acton Boxboro )
Regional School District                             )
      Defendants.                                    )

                                 NOTICE OF APPEARANCE

       Please enter my appearance as counsel for the defendants, Acton-Boxborough Regional

School District and Peter Light, Superintendent of the Acton-Boxborough Regional School

District, in the above-captioned matter.


                                      Respectfully submitted,

                                      The Defendants,

                                      ACTON-BOXBOROUGH REGIONAL SCHOOL
                                      DISTRICT and PETER LIGHT, Superintendent of the
                                      Acton-Boxborough Regional School District,

                                      By their Attorneys,

                                      PIERCE DAVIS & PERRITANO LLP

                                      /s/ John J. Davis
                                      ______________________________________
                                      John J. Davis, BBO #115890
                                      10 Post Office Square, Suite 1100N
                                      Boston, MA 02109
                                      (617) 350-0950
                                      jdavis@piercedavis.com

Dated: January 14, 2022
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                                 CERTIFICATE OF SERVICE

        I hereby certify that the foregoing, filed through the Electronic Case Filing System, will
be sent electronically to the registered participants as identified on the Notice of Electronic Filing
and that a paper copy shall be served upon those indicated as non-registered participants on
January 14, 2022.


                                               /s/ John J. Davis
                                               _________________________
                                               John J. Davis, Esq.




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